                            Case 24-12164-BLS                       Doc 1         Filed 09/17/24             Page 1 of 18


Slowly Fill in this information to identify the case:

United States Bankruptcy Court for the:
                             District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/24
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Tupperware International Holdings Corporation


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                   Principal place of business                                     Mailing address, if different from principal place
                                                                                                      of business
                                       14901 S Orange Blossom Trail
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       Orlando                            FL        32837
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Orange County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.tupperware.com/

6.   Type of debtor                   ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      ☐ Partnership (excluding LLP)

                                      ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                              Case 24-12164-BLS               Doc 1        Filed 09/17/24             Page 2 of 18
Debtor            Tupperware International Holdings Corporation                   Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          3261

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement of
                                                              operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                              chooses to proceed under Subchapter V of Chapter 11.
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                      ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No       District
   filed by or against the debtor     ☐ Yes.                                        When      MM/DD/YYYY     Case number
   within the last 8 years?
                                                 District                           When                     Case number
     If more than 2 cases, attach a                                                           MM/DD/YYYY
     separate list.




     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor           Tupperware International Holdings Corporation                        Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                         District      District of Delaware
   List all cases. If more than 1,                                                                                  When            09/17/2024
   attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                          Number       Street



                                                                                          City                              State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☐ Funds will be available for distribution to unsecured creditors.
                                      ☒ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☐       5,001-10,000                   ☒     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                             Case 24-12164-BLS                    Doc 1       Filed 09/17/24            Page 4 of 18
Debtor           Tupperware International Holdings Corporation                      Case number (if known)
          Name



15. Estimated assets (on a          ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☒    $500,000,001-$1 billion
    consolidated basis)             ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on       ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)           ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                    ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                    ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         09/17/2024
                                                             MM/ DD / YYYY


                                             /s/ Steven Marcus Ramos                                        Steven Marcus Ramos
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Treasurer & Vice President




18. Signature of attorney                    /s/ Steven Marcus Ramos                                        Date        09/17/2024
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Patrick J. Reilley
                                             Printed name
                                             COLE SCHOTZ P.C.
                                             Firm name
                                             500 Delaware Avenue, Suite 1410
                                             Number                Street
                                             Wilmington                                                             Delaware          19801
                                             City                                                                   State               ZIP Code

                                             (302) 652-3131                                                         preilley@coleschotz.com
                                             Contact phone                                                               Email address
                                             4451                                                Delaware
                                             Bar number                                          State




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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    Fill in this information to identify the case:

    United States Bankruptcy Court for the:
                             District of Delaware
                                        (State)                                                ☐ Check if this is an
    Case number (if                                                                                amended filing
    known):                                          Chapter    11



                                                 Rider 1
                  Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       Each of the entities listed below (collectively, the “Debtors”) filed, or will file, a petition in the
United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the
United States Code. The Debtors are requesting joint administration of these cases under the case
number assigned to the chapter 11 case of Tupperware Brands Corporation.

•      Tupperware Brands Corporation
•      Dart Industries Inc.
•      Deerfield Land Corporation
•      Premiere Products, Inc.
•      Tupperware Brands Latin America Holdings, L.L.C.
•      Tupperware Home Parties LLC
•      Tupperware International Holdings Corporation
•      Tupperware Products AG
•      Tupperware Products, Inc.
•      Tupperware U.S., Inc.
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )   Chapter 11
                                                                )
    TUPPERWARE INTERNATIONAL                                    )   Case No. 24-[____] (___)
    HOLDINGS CORPORATION,                                       )
                                                                )
                                Debtor.                         )
                                                                )

                                      LIST OF EQUITY SECURITY HOLDERS1

                                                                                        Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                         Equity Held
                                                 14901 S Orange Blossom Trail
               Dart Industries Inc.                                                            100%
                                                    Orlando, Florida 32837




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
                Case 24-12164-BLS            Doc 1     Filed 09/17/24      Page 7 of 18



                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 TUPPERWARE INTERNATIONAL                                     )   Case No. 24-[____] (___)
 HOLDINGS CORPORATION,                                        )
                                                              )
                            Debtor.                           )
                                                              )

                                      CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                            Approximate Percentage of Shares Held
               Dart Industries Inc.                                       100%
                                     Case 24-12164-BLS                    Doc 1         Filed 09/17/24              Page 8 of 18


      Fill in this information to Identify the case:

      Debtor Name: TUPPERWARE BRANDS CORPORATION
                                                                                                                                             Check if this is an
      United States Bankruptcy Court for the:          District of Delaware                                                                  amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if       Deduction          Unsecured
                                                                                                                    partially secured     for value of       claim
                                                                                                                                          collateral or
                                                                                                                                          setoff

  1       CHANG TSI AND PARTNERS LIMITED      CONTACT: SIMON TSI,             TRADE PAYABLES                                                                      $1,213,191.20
          6-8TH FL TOWER A, HUNDRED           MANAGING PARTNER                (US)
          ISLAND PARK                         PHONE: +86 1088369999
          BEI ZHAN BEI JIE STREET             EMAIL ADDRESS ON FILE
          XICHENG DISTRICT
          BEIJING 100044 CHINA
  2       BDO USA, LLP (FORMERLY KNOWN        CONTACT: WAYNE BERSON,          TRADE PAYABLES                                                                      $1,067,204.15
          AS BDO SEIDMAN, LLP)                CEO                             (US)
          339 SIXTH AVENUE                    PHONE: 301-354-2500
          8TH FLOOR                           FAX: 301-354-2501
          PITTSBURGH, PA 15222                EMAIL ADDRESS ON FILE
  3       FTI CONSULTING TECHNOLOGY LLC       CONTACT: SOPHIE ROSS,    TRADE PAYABLES                                                                              $659,467.50
          50 CALIFORNIA STREET                GLOBAL CHIEF EXECUTIVE   (US)
          SUITE 1900                          OFFICER - TECHNOLOGY
          SAN FRANCISCO, CA 94111             PHONE: 847-533-2609
                                              FTITECHSALES@FTICONSULTI
                                              NG.COM
  4       SADA SYSTEMS INC                    CONTACT: LUSINE                 TRADE PAYABLES                                                                       $593,548.88
          5250 LANKERSHIM BLVD, STE 720       YEGHIAZARYAN, CFO               (US)
          LOS ANGELES, CA 91601               PHONE: 818-766-2400
                                              SUPPORT@SADA.COM
  5       FM POLSKA SP ZOO                    CONTACT: SEBASTIEN              TRADE PAYABLES                                                                       $570,438.12
          UI. TARCZYNSKA 11A                  MAQUET, CFO                     (TPAG)
          MSZCZONOW                           PHONE: +48 468570001
          MAZOWIECKIE                         FMLOGISTIC@FMLOGISTIC.P
          POLAND                              L
  6       ORACLE AMERICA INC                  CONTACT: SHAWN M                TRADE PAYABLES                                                                       $550,000.00
          500 ORACLE PKWY                     CHRISTIANSON                    (US)
          REDWOOD CITY, CA 94065              PHONE: 415-227-0900
                                              EMAIL ADDRESS ON FILE



Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 1
                                  Case 24-12164-BLS                  Doc 1      Filed 09/17/24              Page 9 of 18
  Debtor: TUPPERWARE BRANDS CORPORATION                                                       Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  7     MARSH & MCLENNAM COMPANIES,        CONTACT: MARK MCGIVNEY, TRADE PAYABLES                                                                          $540,459.11
        INC DBA MARSH USA                  CHIEF FINANCIAL OFFICER (US)
        1166 AVE OF THE AMERICAS           PHONE: 212-345-5000
        NEW YORK, NY 10036                 CONTACT@MMC.COM;
                                           EMAIL ADDRESS ON FILE


  8     MILLENARIE INTERNATIONAL           CONTACT: ZHENLIANG         TRADE PAYABLES                                                                       $523,763.56
        NO 9, GUANGZHAN HWY, NAHUO         ZHANG, DIRECTOR            (TPAG)
        INDUSTRIAL ZONE                    PHONE: +86 662 3219788
        YANGDONG DISTRICT                  FAX: +86-662-3226688
        YANGJIANG, GUANGDONG 529931        EMAIL ADDRESS ON FILE
        CHINA
  9     ALL BLUE SOLUTIONS INC             CONTACT: SANDRA            TRADE PAYABLES                                                                       $487,895.95
        26B2 WILSON ST                     CAYOUETTE, COO             (US)
        GUELPH, ON N1H 4G5                 PHONE: 647-478-7292
        CANADA                             EMAIL ADDRESS ON FILE
  10    ZHEJIANG LATIM ELECTRIC            CONTACT: JETTY CHOU,       TRADE PAYABLES                                                                       $485,753.00
        APPLIANCE CO., LTD                 SALES CLERK                (TPAG)
        NO. 168, YONGXUE ST                PHONE: +86 0579-83739805
        WUCHENG DISTRICT                   FAX: +86 0579-83739800
        JINHUA
        ZHEJIANG CHINA
  11    REALTY INCOME CORP DBA SPIRIT      CONTACT: SUMIT ROY,        TRADE PAYABLES                                                                       $438,737.17
        REALTY, LP                         PRESIDENT & CEO            (US)
        11995 EL CAMINO REAL               PHONE: 877-924-6266
        SAN DIEGO, CA 92130                IR@REALTYINCOME.COM
  12    ERNST & YOUNG LLP                  CONTACT: GLENN MITCHELL, TRADE PAYABLES                                                                         $397,907.14
        55 IVAN ALLEN JR. BLVD, SUITE 1000 MANAGING PARTNER         (US)
        ATLANTA, GA 30308                  PHONE: 404-874-8300
                                           EMAIL ADDRESS ON FILE


  13    ALORICA INC                        CONTACT: ANDY LEE, CEO     TRADE PAYABLES                                                                       $367,757.45
        5161 CALIFORNIA AVE                PHONE: 866-256-7422        (US)
        IRVINE, CA 92617                   EMAIL ADDRESS ON FILE
  14    PHOENIX FUND SIX LLC DBA           CONTACT: FRANK P        TRADE PAYABLES                                                                          $340,879.44
        PHOENIX HEMINGWAY INDUSTRAIL       CRIVELLO, CHAIRMAN &    (US)
        INVESTORS LLC                      FOUNDER
        401 E KILBURN AVE, STE 201         PHONE: 414-283-2600
        MILWAUKEE, WI 53202                INFO@PHOENIXINVESTORS.C
                                           OM
  15    DONGGUAN JINYI IMP & EXP CO LTD CONTACT: YANHUAI HE,          TRADE PAYABLES                                                                       $322,344.42
        NO. 801, NO. E AREA, HUIFENG    EXEC DIR                      (TPAG)
        CENTER                          PHONE: +86-755-89517585
        NO. 1, HUIFENG RD, GUANCHENG
        DISTRICT
        DONGGUAN
        GUANGDONG 523011 CHINA


  16    KONSTAR INDUSTRIES LTD.            CONTACT: YUK LIN TSUI, TRADE PAYABLES                                                                           $303,794.11
        UNIT 403-404, 4/F, BLOCK A         DIRECTOR               (TPAG)
        PO LUNG CENTRE                     PHONE: +852 27988988
        11 WANG CHIU RD, KOWLOON BAY       MARKETING@KONSTAR.COM
        KOWLOON HONG KONG                  .HK




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 2
                                  Case 24-12164-BLS                  Doc 1      Filed 09/17/24               Page 10 of 18
  Debtor: TUPPERWARE BRANDS CORPORATION                                                        Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  17    JENKON (JIA INC)                   CONTACT: ROBERT CAVITT,     TRADE PAYABLES                                                                       $284,100.00
        201 NE PARK PLZ DR, STE 220        CEO                         (US)
        VANCOUVER, WA 98684                PHONE: 360-256-4400
                                           EMAIL ADDRESS ON FILE
  18    MICROSOFT LICENSING GP             CONTACT: SATYA NADELLA,     TRADE PAYABLES                                                                       $252,380.92
        6100 NEIL RD, STE 100              CEO                         (US)
        RENO, NV 89511                     PHONE: 775-823-5600
                                           FAX: 775-337-3038
                                           EMAIL ADDRESS ON FILE
  19    DNS GLOBAL CO.,LTD                 CONTACT: KIM BYUNG IL       TRADE PAYABLES                                                                       $218,397.61
        ROAD 3, GIANG DIEN INDUSTRIAL      PHONE: +84 2518 966 355     (TPAG)
        ZONE                               FAX: +84 2518 966 366
        GIANG DIEN COMMUNE
        TRANG BOM DISTRICT
        DONG NAI VIETNAM
  20    LINKFAIR HOUSEHOLD (HK) LIMITED    CONTACT: KEVIN NG, VICE     TRADE PAYABLES                                                                       $211,699.17
        RM 501 5/F SHATIN INDL CTR BLK     GENENERAL MGR               (TPAG)
        B 5-7 YUEN SHUN CIRCUT             PHONE: +86 7662957896
        SHA TIN                            SALES@LINKFAIR.COM.CN
        HONG KONG


  21    DXC TECHNOLOGY SERVICES LLC        CONTACT: ROB DEL BENE,      TRADE PAYABLES                                                                       $201,631.94
        20408 BASHAN DR, STE 231           CHIEF FINANCIAL OFFICER     (US)
        ASHBURN, VA 20147                  PHONE: 800-401-1957
                                           EMAIL ADDRESS ON FILE
  22    LINK ENTERPRISE LTD                CONTACT: CHAN SENG          TRADE PAYABLES                                                                       $193,928.55
        FLAT A, 17/F., WARDLEY CENTRE,     KELVIN TIN                  (TPAG)
        9-11 PRAT AVENUE,                  PHONE: 717-740-5496
        TSIM SHA TSUI                      INFOPAE@LINKBUSINESS.CO
        KOWLOON HONG KONG CHINA            M
  23    TK GROUP INTERNATIONAL HONG        CONTACT: LEUNG YIU LEE,     TRADE PAYABLES                                                                       $190,250.00
        KONG LIMITED                       DIRECTOR                    (US)
        RM 19, 9TH FL, BLOCK B, CASTLE     PHONE: +852 24113628
        PEAK RD                            SALES@TKMOLD.COM
        TSUEN WAN
        HONG KONG
  24    PRINT LSC COMMUNICATIONS S DE      CONTACT: CONSTANCE          TRADE PAYABLES                                                                       $189,169.08
        R L DE C V                         BENEDICTE CLEMENCE          (US)
        CERRADA DE GALEANA NO 26           FOLCH DASSONVILLE
        FRACC IND LA LOMA                  PHONE: +52 55 5091 6300
        TLALNEPANTLA DE BAZ, ESTADO DE     EMAIL ADDRESS ON FILE
        MEXICO 54070
        MEXICO
  25    GHIDINI CIPRIANO S.R.L.            CONTACT: DIEGO ANDINA,      TRADE PAYABLES                                                                       $184,665.18
        VIA PONTE GANDOVERE 51             PRESIDENT                   (TPAG)
        GUSSAGO, BRESCIA 25064             PHONE: +39 0303737012
        ITALY                              INFO@GHIDINICIPRIANO.IT
  26    COMPUTER PACKAGES, INC.            CONTACT: JIM RUSSELL,       TRADE PAYABLES                                                                       $167,606.00
        11 N WASHINGTON ST, STE 300        OWNER                       (US)
        ROCKVILLE, MD 20850                PHONE: 301-424-8890
                                           EMAIL ADDRESS ON FILE




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 3
                                  Case 24-12164-BLS                  Doc 1       Filed 09/17/24              Page 11 of 18
  Debtor: TUPPERWARE BRANDS CORPORATION                                                        Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

  27    GREEN ORCHID LANDSCAPE        CONTACT: BRANDON                 TRADE PAYABLES                                                                       $152,102.40
        SERVICES                      BRYSON, OWNER                    (US)
        8815 CONROY WINDERMERE RD 360 PHONE: 321-765-7676
        ORLANDO, FL 32835


  28    MANUTHIERS                         CONTACT: JEAN-MARCEL        TRADE PAYABLES                                                                       $147,728.83
        12 RUE D LINNOVATION               PIRONIN, PRESIDENT          (TPAG)
        ZONE DE HAUTES TECHNOLOGIES        PHONE: +33 0473514481
        BP 2                               CONTACT@MANUTHIERS.FR
        PESCHADOIRES 63920 FRANCE
  29    PENSION BENEFIT GUARANTY           CONTACT: STEPHANIE          PENSION                    U                                                       Undetermined
        CORPORATION                        THOMAS, ASST GENERAL
        OFFICE OF THE GENERAL COUNSEL      COUNSEL
        445 12TH ST SW                     PHONE: 202-391-4590
        WASHINGTON, DC 20024               EMAIL ADDRESS ON FILE
  30    NEW IMAGE INTERNATIONAL LTD.       CONTACT: GRAEME CLEGG, LITIGATION                     C,U                                                      Undetermined
        19 MAHUNGA DR                      FOUNDER AND CHAIRMAN
        MANGERE BRIDGE                     PHONE: +64 9 622 2388
        AUCKLAND 2022                      NZSUPPORT@NEWIMAGE.AS
        NEW ZEALAND                        IA




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 4
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    Fill in this information to identify the case and this filing:

   Debtor Name          Tupperware International Holdings Corporation

   United States Bankruptcy Court for the:                District of Delaware
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       09/17/2024                                   /s/ Steven Marcus Ramos
                                       MM/ DD/YYYY                                 Signature of individual signing on behalf of debtor
                                                                                   Steven Marcus Ramos
                                                                                   Printed name
                                                                                   Treasurer & Vice President
                                                                                   Position or relationship to debtor

Official Form 202                                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
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                      OMNIBUS ACTION BY UNANIMOUS WRITTEN CONSENT OF
                     THE BOARDS OF DIRECTORS AND MANAGING MEMBERS, AS
               APPLICABLE, OF EACH OF THE ENTITIES LISTED ON SCHEDULE I HERETO

                                                       September 17, 2024

                    The undersigned, being all members of the boards of directors or managing members, as
            applicable (each, a “Governing Body,” and collectively, the “Governing Bodies”), of each of the
            entities listed on Schedule I hereof (each, a “Company,” and collectively, the “Companies”), in
            lieu of a special meeting of each Governing Body in accordance with the certificates of
            incorporation, bylaws, operating agreements, articles of association, or limited liability company
            agreements of each Company (collectively, the “Governing Documents”), as applicable, and the
            applicable laws of the jurisdiction in which such Company is organized, do hereby approve,
            consent to, and adopt the following recitals and resolutions, with the same force and effect as if
            they had been adopted at a duly convened meeting of each Governing Body.

             CHAPTER 11 FILING

                    WHEREAS, the Governing Bodies have considered presentations by each Company’s
            management (“Management”) and financial and legal advisors (collectively, the “Advisors”)
            regarding the assets, liabilities, and liquidity of each Company, the strategic and financial
            alternatives available to it, and the effect of the foregoing on each Company’s business; and

                    WHEREAS, the Governing Bodies have had the opportunity to consult with Management
            and the Advisors and has fully considered each of the strategic and financial alternatives available
            to each Company.

            NOW, THEREFORE, BE IT:

                    RESOLVED, that in the business judgment of the Governing Bodies, it is desirable and in
            the best interests of each Company (including a consideration of its creditors and other parties in
            interest) that each Company shall be, and hereby is, in all respects, authorized to file, or cause to
            be filed, a voluntary petition for relief commencing a case (a “Chapter 11 Case”) under the
            provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532
            (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware
            (the “Bankruptcy Court”) or other court of competent jurisdiction; and

                    RESOLVED, that any of the Principal Executive Officer, President, Chief Financial
            Officer, Chief Transformation Officer, Secretary or any other duly-appointed officer of each
            Company (collectively, the “Authorized Signatories”), acting alone or with one or more other
            Authorized Signatories be, and they hereby are, authorized, empowered, and directed to execute
            and file on behalf of each Company all petitions, schedules, lists, and other motions, papers, or
            documents, and to take any and all action that they deem necessary or proper to obtain such relief,
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            including, without limitation, any action necessary to maintain the ordinary course operation of
            each Company’s business.

             USE OF CASH COLLATERAL AND ADEQUATE PROTECTION

                    RESOLVED, that in the business judgment of the Governing Bodies, it is desirable and in
            the best interest of each Company, its stakeholders, its creditors, and other parties in interest to
            obtain the benefits of: (a) the use of cash collateral, as such term is defined in section 363(a) of
            the Bankruptcy Code (the “Cash Collateral”), which is security for each Company’s prepetition
            secured lenders under certain credit facilities by and among each Company, the guarantors party
            thereto, the administrative and other agents party thereto, and the lenders party thereto;

                    RESOLVED, that in order to use and obtain the benefits of the Cash Collateral, and in
            accordance with section 363 of the Bankruptcy Code, each Company will provide certain adequate
            protection to the Secured Parties (such obligations, “Adequate Protection Obligations”), as
            documented in proposed interim and final orders (the “Cash Collateral Orders”) to be submitted
            for approval of the Bankruptcy Court, with the Governing Bodies having been apprised of the
            material terms and provisions of the Cash Collateral Orders;

                    RESOLVED, that the form, terms, and provisions of the Cash Collateral Orders, and the
            actions and transactions contemplated thereby be, and hereby are authorized, adopted, and
            approved in all respects, and each of the Authorized Signatories of each Company be, and hereby
            is, authorized and empowered, in the name of and on behalf of each Company, to take such actions
            and negotiate or cause to be prepared and negotiated and to perform, and cause the performance
            of, the Cash Collateral Orders;

                    RESOLVED, each of the Authorized Signatories be, and hereby is, authorized,
            empowered, and directed in the name of, and on behalf of, each Company to seek authorization
            and approval to use Cash Collateral pursuant to the Cash Collateral Orders, and any Authorized
            Signatory be, and hereby is, authorized, empowered, and directed to negotiate, execute, and deliver
            any and all agreements, instruments, or documents, by or on behalf of each Company, relating to
            the use of Cash Collateral in connection with the Chapter 11 Cases, all with such changes therein
            and additions thereto as any Authorized Signatory approves, such approval to be conclusively
            evidenced by the taking of such action or by the execution and delivery thereof; and

                   RESOLVED, that each Company, as a debtor and debtor in possession under the
            Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations,
            including granting liens on its assets to secure such obligations;

             RETENTION OF PROFESSIONALS

                    FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby are,
            authorized, empowered, and directed to employ on behalf of each Company: (a) the law firm of
            Kirkland & Ellis LLP and Kirkland & Ellis International LLP as general bankruptcy counsel;
            (b) the law firm of Cole Schotz P.C. as co-bankruptcy counsel; (c) Moelis and Company LLC as
            investment banker; (d) Alvarez & Marsal North America, LLC as financial advisor; (e) Epiq
            Corporate Restructuring, LLC as noticing and claims agent; and (f) any other legal counsel,

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            accountants, financial advisors, restructuring advisors, or other professionals the Authorized
            Signatories deem necessary, appropriate, or advisable, each to represent and assist each Company
            in carrying out its duties and responsibilities and exercising its rights under the Bankruptcy Code
            and any applicable law (including, but not limited to, the law firms filing any motions, objections,
            replies, applications, pleadings, or responses); and in connection therewith, each of the Authorized
            Signatories, with the power of delegation, is, and hereby are authorized, empowered, and directed,
            in accordance with the terms and conditions hereof, to execute appropriate retention agreements,
            pay appropriate retainers, and to cause to be filed appropriate applications for authority to retain
            such services;

                    FURTHER RESOLVED, that each of the Authorized Signatories be, and hereby are,
            authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists,
            applications, pleadings, and other papers and to perform such further actions and execute such
            further documentation that the Authorized Signatories in their absolute discretion deem necessary,
            proper, appropriate, or desirable in connection with each Company’s Chapter 11 Case and in
            accordance with the foregoing resolutions;

            GENERAL

                    FURTHER RESOLVED, that in addition to the specific authorizations heretofore
            conferred upon the Authorized Signatories, each of the Authorized Signatories (and their designees
            and delegates), either individually or as otherwise required by the Governing Documents, as
            applicable, of each Company and the applicable laws of the jurisdiction in which such Company
            is organized, be, and each of them hereby is, authorized to execute, acknowledge, deliver, and file
            any and all agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds,
            and other documents on behalf of each Company, as applicable, relating to the foregoing
            resolutions;

                    FURTHER RESOLVED, that each of the Authorized Signatories (and their designees
            and delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of each
            Company to take or cause to be taken any and all such other and further action, and to execute,
            acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
            documents and to pay all expenses, including but not limited to filing fees, in each case as in such
            Authorized Signatory’s absolute discretion, shall be necessary, appropriate, or desirable in order
            to fully carry out the intent and accomplish the purposes of the resolutions adopted herein;

                    FURTHER RESOLVED, that each Governing Body has received sufficient notice of the
            actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
            be required by the Governing Documents, as applicable, of each Company and the applicable laws
            of the jurisdiction in which such Company is organized, or hereby waives any right to have
            received such notice;

                   FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
            contemplated by the foregoing resolutions done in the name of and on behalf of each Company,
            which acts would have been approved by the foregoing resolutions except that such acts were
            taken before the adoption of these resolutions, are hereby in all respects approved, confirmed, and

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            ratified as the true acts and deeds of each Company with the same force and effect as if each such
            act, transaction, agreement, or certificate had been specifically authorized in advance by resolution
            of each Company; and

                    FURTHER RESOLVED, that any Authorized Signatory (and their designees and
            delegates) be, and each of them hereby is, authorized to do all such other acts, deeds and other
            things as each Company itself may lawfully do, in accordance with the Governing Documents, as
            applicable, of each Company and the applicable laws of the jurisdiction in which such Company
            is organized, howsoever arising in connection with the matters above, or in furtherance of the
            intentions expressed in the foregoing resolutions, including, but not limited to, the negotiation,
            finalization, execution, and delivery of any other agreements, certificates, instruments, powers of
            attorney, letters, forms, transfer, deeds, and other documents whatsoever as the individual acting
            may in his/her absolute and unfettered discretion approve, deem or determine necessary,
            appropriate or advisable, such approval, deeming, or determination to be conclusively evidenced
            by said individual taking such action or the execution thereof.

                                                  *          *   *      *        *

                                                      [Signature Pages Follow]




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                    IN WITNESS WHEREOF, the undersigned, constituting the board of directors of Dart
            Industries Inc., Deerfield Land Corporation, Tupperware Products, Inc., Tupperware International
            Holdings Corporation, Premiere Products, Inc., Tupperware U.S., Inc., and Tupperware Home
            Parties LLC, do hereby consent to the foregoing actions and resolutions effective as of the date
            first written above. This unanimous written consent may be executed in counterparts, each of
            which shall be deemed an original and all of which together shall constitute one and the same
            instrument. This unanimous written consent may be executed by facsimile or email transmission
            and such facsimile or email transmission shall be valid and binding to the same extent as if it was
            an original.

                                                                                  9/17/2024

                                                                      Steven Ramos


                                                                                  9/17/2024

                                                                      Karen M. Sheehan



                                                                     BEING ALL THE DIRECTORS OF THE
                                                                     BOARD OF DART INDUSTRIES INC.,
                                                                     DEERFIELD LAND CORPORATION,
                                                                     TUPPERWARE PRODUCTS, INC.,
                                                                     TUPPERWARE INTERNATIONAL
                                                                     HOLDINGS CORPORATION,
                                                                     PREMIERE PRODUCTS, INC.,
                                                                     TUPPERWARE U.S., INC., AND
                                                                     TUPPERWARE HOME PARTIES LLC




                                             [Unanimous Written Consent - Signature Page]
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                                                             Schedule I

            Dart Industries Inc.
            Deerfield Land Corporation
            Premiere Products Inc.
            Tupperware Home Parties LLC
            Tupperware International Holdings Corporation
            Tupperware Products, Inc.
            Tupperware U.S., Inc.
